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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10   BANYAN RISK GROUP, LLC, a                   Case No. 2:20-cv-06273-MCS-SK
11   limited liability company,
                                                 JUDGMENT
12                       Plaintiff,
13
                   v.
14
15   SPOTLIGHT OPERATIONS LLC, a
     limited liability company, GENIUS
16
     FUND I, INC., a corporation, and
17   GARY SHINDER a/k/a IGOR
     SHINDER, an individual,
18
19                       Defendants.
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21         The Court, having reviewed the Stipulation for Judgment executed by Plaintiff
22   Banyan Risk Group, LLC and Defendants Spotlight Operations LLC and Genius Fund
23   I, Inc., and their respective counsel, on or around November 15, 2021, finds good
24   cause for the entry of a judgment pursuant to said stipulation.
25         IT IS HEREBY ORDERED THAT THE JUDGMENT IS ENTERED AS
26   FOLLOWS:
27          1.    Judgment in the amount of $97,636.29 shall be entered in favor of
28   Banyan Risk Group, LLC and against Spotlight Operations LLC and Genius Fund I,

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 1   Inc. Said Judgment shall be entered jointly and severally against both entities.
 2          2.    Each of the Parties to this action agrees to bear its own costs and
 3   attorneys’ fees, with the exception that Banyan shall be entitled to recover all of its
 4   reasonable attorneys’ fees and related costs incurred in enforcing the Judgment.
 5          3.    The Judgment shall become final for all purposes upon entry, and the
 6   Parties waive any right of appeal or to seek review of this Judgment by a higher court.
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10   IT IS SO ORDERED.
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12    Dated: November 30, 2021
13                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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